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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                            Hon. Hala Y. Jarbou
 v.
                                                            Case No. 1:23-cr-00016
 DOMINIC NATHANIEL ALEXANDER,

       Defendant.
 ________________________________/

                             ORDER OF DETENTION

        This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a two count Indictment. Count 1 charges

him with felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1),and

count 2 charges him with felon in possession of ammunition, in violation of 18 U.S.C.

§ 922(g)(1).

        The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a risk of non-appearance,

18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing on March 3, 2023, at which

defendant was represented by counsel.

        Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that the government has not met its burden of

establishing by preponderant evidence that defendant poses a risk of non-
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appearance. The Court also finds, as explained on the record, that the government

has sustained its burden by clear and convincing evidence that he is a danger to the

community. Further, the Court finds that there is no condition or combination of

conditions of release that will ensure the safety of the community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on March 3, 2023.


Date March 3, 2023.                                  /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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